
This matter having been duly presented on the motion for reinstatement to the practice of law filed by John Charles Allen of New Brunswick, who was admitted to the bar of this State in 1995, and who was temporarily suspended from the practice of law **587pursuant to Rule 1:20-15(k), effective May 13, 2019, by Order filed April 12, 2019;
And the Disciplinary Review Board having reported to the Court that respondent has complied with the Fee Arbitration Determination in District Docket No. VIII-2018-0018F, and has paid the sanction of $ 500 to the Disciplinary Oversight Committee;
And good cause appearing;
It is ORDERED that John Charles Allen be restored to the practice of law, effective immediately.
